Case 1:20-cv-03824-SKC Document 1-1 Filed 12/30/20 USDC Colorado Page 1 of 8




DISTRICT COURT, CHAFFEE COUNTY
                                               DATE FILED: December 10, 2020 1:55 PM
                                               FILING ID: 3F800200C2A68
STATE OF COLORADO                              CASE NUMBER: 2020CV30050
142 Crestone Avenue
Salida, Colorado 81201
Plaintiff: LYNDA HERRERA TRAVIS, an
individual,

V.


Defendant: CITY OF SALIDA, a municipal
corporation.                                         ▲ COURT USE ONLY ▲
Attorneys for Plaintiff:
                                                 Case No:
Jason B. Wesoky, Reg. No. 34241
D. J. Marcus, Reg. No. 41189
                                                 Division:
Darling Milligan PC
1331 17th Street, Suite 800
Denver, CO 80202
Phone:       (303) 623-9133
Fax:         (303) 623-9129
E-mail:      jwesoky@darlingmilligan.com
             dmarcus@darlingmilligan.com

                       FIRST AMENDED COMPLAINT

       Plaintiff, Lynda Herrera Travis, by and through her attorneys Darling
Milligan PC, for her complaint against City of Salida, a municipal corporation
(“City”), avers as follows:

                          GENERAL ALLEGATIONS

      1.    Plaintiff is an individual residing in Chaffee County, Colorado.

      2.   The City is a municipal corporation. Upon information and belief, the
City has more than 15 employees and is a municipal corporation in the State of
Colorado.

                        JURISDICTION AND VENUE

      3.    This Court has jurisdiction pursuant to C.R.S. § 13-1-124 as Defendant
conducts business within Colorado and the discrimination occurred in Colorado.


                                         1
Case 1:20-cv-03824-SKC Document 1-1 Filed 12/30/20 USDC Colorado Page 2 of 8




       4.    Venue is proper in Chaffee County pursuant to C.R.C.P. 98 as the City
is a municipal corporation located in and conducts its business in Chaffee County and
the discrimination occurred in Chaffee County.

                            FACTUAL BACKGROUND

     5.    Ms. Travis served as the Deputy City Clerk from October 2017 until
January 2019.

     6.     As the Deputy City Clerk, Ms. Travis reported to the City
Administrator.

     7.     During Ms. Travis’ tenure she reported to three different City
Administrators: Larry Lorentzen, Theresa Casey (interim City Administrator), and
Drew Nelson.

       8.     On June 20, 2018, Ms. Casey met with Ms. Travis. Ms. Travis discussed
perceived problems with the city outdoor vending permit system. Ms. Casey
suggested that Ms. Travis raise the issue at the department head meeting taking
place that day. When Ms. Travis raised the issue at the meeting, Ms. Casey told her
that it was not appropriate to raise it at the meeting and that it should be discussed
at a later time. Ms. Travis felt humiliated that Ms. Casey told her to raise the issue
just to shut her down in public; her anxiety levels rose to the point where she began
experiencing a panic attack and had to remove herself from the meeting. Ms. Travis
tried to return to the meeting, but her anxiety levels rose again. She had to take the
rest of the day off and two further sick days to recover.

       9.    On June 25, 2018, after taking two sick days to deal with panic attacks
induced by Ms. Casey’s antagonistic behavior toward her, Ms. Travis was informed
that Ms. Casey inquired of another employee whether Ms. Travis was truly sick or
using leave inappropriately. Ms. Casey confronted Ms. Travis and threatened to fire
Ms. Travis for using sick leave. This threat induced another panic attack.

       10.    On July 23, 2018, Ms. Casey brought Ms. Travis in her office to tell her
that Ms. Casey and the Municipal Judge would be a part of the interview and hiring
process for the Assistant Deputy City Clerk position, a position that directly reported
to Ms. Travis. Ms. Casey told Ms. Travis she was not a department head and that Ms.
Casey would take the lead on the hiring process. Ms. Travis could be included in the
process; however, the final decision was Ms. Casey’s and the Municipal Judge’s.




                                          2
Case 1:20-cv-03824-SKC Document 1-1 Filed 12/30/20 USDC Colorado Page 3 of 8




       11.  On July 30, 2018, Ms. Casey stated she did not perceive the Assistant
Deputy City Clerk to be Ms. Travis’ employee even though the individual in this
position would directly report to Ms. Travis. Additionally, Ms. Casey would not
approve of any of the persons Ms. Travis wanted to hire for the position. Ms. Casey
recommended the last interviewee of the day.

        12.   Ms. Travis told Ms. Casey her career goal was to one-day serve as a City
Manager. In response, Ms. Casey stated Ms. Travis should stick with being a “cute
little deputy” and it would take years for Ms. Travis to master just that.

       13.    On August 6, 2018, Ms. Casey asked Ms. Travis to move her office to the
storage closet. Ms. Casey had discussed this with the Community Development
Director, Glen VanNimwegen. Mr. VanNimwegen agreed to assist with the move by
clearing out the storage room. Ms. Travis suggested alternative options; however, Ms.
Casey did not want to offend another employee by asking her to move her office. After
the conversation, Ms. Casey paced in front of Ms. Travis’s office wondering to herself,
verbally and loudly enough that Ms. Travis could hear, what could be done with the
space if the office was vacant.

       14.   On September 26, 2018, Ms. Casey and Ms. Travis were standing by the
printer when Ms. Casey stated she learned a lot about Ms. Travis’ culture (Ms. Travis
is of Mexican heritage) by watching the Disney movie Coco.

       15.   After months of working under Ms. Casey in a hostile and harassment
filled work environment, Ms. Travis thought the hiring of Mr. Nelson would improve
her work environment. Unfortunately, Ms. Travis’ work environment got worse.

       16.    On October 8, 2018 Ms. Travis went to Drew Nelson's office to request
he review and approve a meeting agenda. He was sitting at his desk when she
approached. Ms. Travis asked if he would be willing to go over the agenda so she could
send it out to the department heads. He looked up, with a look of extreme rage, as if
to convey Ms. Travis was bothering him. Due to his strong reaction to her request,
Ms. Travis said she would come back another time and excused herself from his office.

       17.   October 10, 2018, Mr. Nelson called Ms. Travis into his office. He pointed
to a goals document that he requested she place on the upcoming work session. Ms.
Travis was surprised the City Council was interested in revisiting the document. She
explained it was a project that she had worked on with the City Council prior to his
arrival. Mr. Nelson became enraged and screamed, "What?" he then picked up the
document, threw it and said, "Well this is shit!"




                                          3
Case 1:20-cv-03824-SKC Document 1-1 Filed 12/30/20 USDC Colorado Page 4 of 8




        18.    On October 12, 2018 at 5:00 PM, Mr. Nelson sent Ms. Travis packet
materials. Minutes after sending the packet material, Mr. Nelson went to her office
to ask when the work product would be sent out. Then, Mr. Nelson said he was going
to sit in her office to make sure Ms. Travis completed the work. Mr. Nelson stayed in
her office, making Ms. Travis extremely uncomfortable, until both Ms. Travis and Mr.
Nelson left the office shortly before 8:00 PM.

       19.   On October 13, 2018, Ms. Travis requested Mr. Nelson meet her at City
Hall. Ms. Travis reported to Mr. Nelson that Ms. Casey had been abusive and bullying
Ms. Travis. Ms. Travis expressed fear that Mr. Nelson was continuing the same
practices. Mr. Nelson said he fully supports Ms. Casey and that he would make up
his own mind about her.

       20.   On October 31, 2018, Ms. Travis requested Mr. Nelson review a meeting
agenda. During the review, Mr. Nelson pointed out inconsistences in fonts and
spacing. Mr. Nelson requested Ms. Travis make the corrections but then said, “Oh
wait, do you even know how to do that?”

       21.    On November 2, 2018, Mr. Nelson called Ms. Travis as she was walking
in the door of her residence; she had come home because she had a female emergency.
Mr. Nelson directed her to meet him at Pueblo Bank and Trust immediately. She
quickly changed her clothes and went to the bank. Ms. Casey and Mr. Nelson were
present at the bank when she arrived. Mr. Nelson coerced Ms. Travis into signing a
document.

       22.    Upon exiting the bank, she confronted Mr. Nelson in the parking lot
regarding what had just occurred. Ms. Casey stood next to him and witnessed the
interaction. He said he needed to freeze the city bank accounts. Ms. Travis told him
he had previously told her that her signature was needed for a different reason. She
left the bank very upset and immediately called Mr. Nelson when she arrived home
to speak with him again. Mr. Nelson said she could document the event if it made her
feel better and said he would include it in her HR file. It was never placed in her HR
file.

       23.   On November 27, 2018, Ms. Travis emailed Mr. Nelson requesting a
salary increase and to be considered for the City Clerk position. In the attachment to
the email, Ms. Travis detailed her reasons for requesting a salary increase and to be
given the opportunity to be considered for appointment to City Clerk 1. Ms. Travis did


1The City Clerk position was previously an elected position, however Section 2-3-10 of the Salida
Municipal Code (“SMC”) was amended as of November 20, 2018 to make it an appointed position. See
Exhibit 3 (SMC § 2-3-10).


                                               4
Case 1:20-cv-03824-SKC Document 1-1 Filed 12/30/20 USDC Colorado Page 5 of 8




not demand the pay increase or the City Clerk position, a position that was legally
available.

      24.    Mr. Nelson did not respond to Ms. Travis’ request. She sent a follow up
email on November 30, 2018. Ms. Travis never received a response to either email.
Mr. Nelson’s reason for not responding, “if [he] granted her request it would look like
he was buying her support. If he denied it, he worried it would appear retaliatory,”
therefore Mr. Nelson, the City Administrator, felt that the best action was to just
ignore an employee’s request.

      25.    On December 6, 2018, Dan Shore (a City Council Member), strongly
encouraged Ms. Travis to write a letter to the Mountain Mail in response to its article
“Council receives letters about Nelson’s behavior.” Mr. Shore coached Ms. Travis to
make changes to emphasize she had a good working relationship with Mr. Nelson.

       26.   On December 21, 2018, Mr. Nelson presented Ms. Travis with a General
Release and Separation Agreement; if Ms. Travis signed the agreement, she would
receive $2,300.00 and a letter of recommendation from the Mayor.

      27.    Ms. Travis questioned why she was receiving such an agreement and
what benefit she would get by signing an agreement which she did not request.

       28.    Ms. Travis did everything she could to not jeopardize her and her
family’s future by complying with the City’s every demand and wish, even going so
far as to try and pacify the City by stating she was resigning voluntarily and trying
to help the City demean and undermine former employee Ms. McClurkin.

       29.    Ms. Travis’ professional career and reputation continue to be adversely
impacted by the City of Salida. While providing home care for a client in her new
position, the client recognized her name from Mountain Mail newspaper articles and
subsequently informed Ms. Travis she was friends with Salida City Council member
Harald Kasper and his wife, Devon Jencks. She stated Mrs. Jencks had confided in
a group of their friends, including her, that Ms. Travis was “crazy.”

       30.   Ms. Travis timely brought a charge of discrimination with the Colorado
Civil Rights Division (“CCRD”) on the grounds of national origin/ancestry (Hispanic),
sex discrimination and for engaging in protected activity, including subjecting her to
unequal treatment relative to males and non-Hispanic employees. The CCRD
investigated the matter.

      31.    On July 31, 2020, the CCRD issued a Notice of Right to Sue.



                                          5
Case 1:20-cv-03824-SKC Document 1-1 Filed 12/30/20 USDC Colorado Page 6 of 8




       32.    On November 20, 2020, the EEOC, through the DOJ, issued a right to
sue letter.


                         First Claim for Relief
(Discrimination under C.R.S. § 24-34-402(1)(a) et seq. and 42 U.S.C. § 2000e,
                         et seq. – Sex (Female))

       33.    Plaintiff incorporates all prior allegations as if fully set forth herein.

      34.    The foregoing acts and omissions of Defendant’s discrimination violate
C.R.S. § 24-34-402(1)(a) et seq. and 42 U.S.C. § 2000e, et seq.

       35.    Plaintiff is in protected classes based on her sex (Female).

       36.    Ms. Travis was qualified for her job as Deputy City Clerk.

      37.    When Plaintiff complained to the City about her disparate treatment
and the treatment she was receiving, the City retaliated against her with continuing
such the treatment.

       38.    Thus, Defendant engaged in discrimination because of Ms. Travis’ sex.

       39.  The discrimination includes the treatment of Ms. Travis that differ from
her male counterparts, including, but not limited to, derogatory comments,
admonishment for using sick time, harassment, and mistreatment, working late and
over the weekend.

      40.     Plaintiff is entitled to all damages and remedies, including, but not
limited to back pay, front pay, reinstatement, punitive damages as permitted by
statute, attorney fees and costs.

                           Second Claim for Relief
 (Discrimination under C.R.S. § 24-34-402(1)(a) et seq. and 42 U.S.C. § 2000e,
               et seq. – National Origin/Ancestry (Hispanic))

       41.    Plaintiff incorporates all prior allegations as if fully set forth herein.

      42.    The foregoing acts and omissions of Defendant’s discrimination violate
C.R.S. § 24-34-402(1)(a) et seq and 42 U.S.C. § 2000e, et seq.




                                             6
Case 1:20-cv-03824-SKC Document 1-1 Filed 12/30/20 USDC Colorado Page 7 of 8




      43.   Plaintiff is in a protected class based on her national origin/ancestry
(Hispanic).

      44.    Ms. Travis was qualified for her job as Deputy City Clerk.

      45.    When Plaintiff complained to the City about her disparate treatment
and the treatment she was receiving, the City retaliated against her with continuing
such the treatment.

      46.    Thus, Defendant engaged in discrimination because of Ms. Travis’
national origin/ancestry (Hispanic).

       47.  The discrimination includes the treatment of Ms. Travis that differ from
her non-Hispanic counterparts, including, but not limited to, derogatory comments,
admonishment for using sick time, harassment, and mistreatment, working late and
over the weekend.

      48.     Plaintiff is entitled to all damages and remedies, including, but not
limited to back pay, front pay, reinstatement, punitive damages as permitted by
statute, attorney fees and costs.

                         Third Claim for Relief
(Discrimination under C.R.S. § 24-34-402(1)(a) et seq. and 42 U.S.C. § 12203 –
                               Retaliation)

      49.    Plaintiff incorporates all prior allegations as if fully set forth herein.

      50.    The foregoing acts and omissions of Defendant’s discrimination violate
C.R.S. § 24-34-402(1)(a) et seq. and 42 U.S.C. § 12203.

       51.   Plaintiff is in protected classes based on her sex (Female) and national
origin/ancestry (Hispanic).

      52.    Ms. Travis was qualified for her job as Deputy City Clerk.

      53.    When Plaintiff complained to the City about her disparate treatment
and the treatment she was receiving, the City retaliated against her by engaging in
and continuing such treatment.

      54.  The discrimination and retaliation includes but is not limited to,
derogatory comments, admonishment for using sick time, harassment, and
mistreatment, working late and over the weekend.


                                            7
Case 1:20-cv-03824-SKC Document 1-1 Filed 12/30/20 USDC Colorado Page 8 of 8




       WHEREFORE, Plaintiff seeks judgment in her favor and against Defendant
for monetary damages in an amount to be determined by a jury and the Court for all
damages compensable under the foregoing claims, for all equitable remedies available
under said claims, including: back pay (including interest and benefits);
compensation for damages sustained as a result of Defendant’s conduct, including
damages for emotional distress, humiliation, embarrassment, and anguish, according
to proof; exemplary and punitive damages in accordance with applicable law in an
amount commensurate with Defendant’s ability to pay and to deter future conduct;
costs incurred, including reasonable attorneys’ fees to the extent allowable by law;
pre-judgment and post-judgment interest, as provided by law; and such other and
further legal and equitable relief as this Court deems necessary, just, and proper.

      PLAINTIFF REQUESTS A TRIAL BY JURY

      Respectfully submitted this 10th day of December 2020.

                                                    DARLING MILLIGAN PC

                                                  /s/ Jason B. Wesoky
                                                  Jason B. Wesoky, Reg. No. 34241
                                                  D. J. Marcus, Reg. No. 41189
                                                  Attorneys for Plaintiff
Plaintiff’s Address:
10345 W. Cherokee Drive
Salida, Colorado 81201




                                         8
